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 1
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 2

 3
      TERRY FABRICANT, individually                 ) Case No. CV 18-9165-GW-GJSx
 4
      And on behalf of all others similarly         )
 5    situated,                                     )
      Plaintiff                                     )
 6
                                                    )
 7    vs.                                           )
                                                      ORDER TO DISMISS
 8
                                                    )
      PREMIER MORTGAGE                              )
 9     RESOURCES LLC and DOES 1                     )
10    through 10, inclusive                         )
      Defendants.                                   )
11
                                                    )
12                                                  )
13

14          IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
15    this matter is dismissed in its entirety with prejudice as to the named Plaintiff, and
16    without prejudice as to the Putative Class alleged in the complaint, pursuant to
17    Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
18    costs and attorneys’ fees.
19
      Dated: July 25, 2019
20

21                                                _______________________________
                                                   HON. GEORGE H. WU,
22
                                                   United States District Judge
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                                      [Proposed]Order to Dismiss - 1
